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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-12-691
                                                 §
                                                 §
WILLIAM CRAIG NOONAN                             §
DAVID MORSE BARRY                                §

                                            ORDER

       The court held a suppression hearing in this case on December 17, 2013. The motions to

suppress, to dismiss and to sever were denied, as stated on the record. The court finds that the

interests of justice are served by granting a continuance and that those interests outweigh the

interests of the public and the defendants in a speedy trial. The docket control order is amended as

follows:

       Witness and exhibit lists are to be filed by:   March 3, 2014
       Motions are to be filed by:                     March 10, 2014
       Responses are to be filed by:                   March 24, 2014
       Pretrial conference is reset to:                April 2, 2014 at 8:30 a.m.
       Jury trial and selection are reset to:          April 7, 2014 at 9:00 a.m.


               SIGNED on December 19, 2013, at Houston, Texas.

                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
